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                          IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

UNITED STATES OF AMERICA                         )
          Plaintiff,                             )      Case No. 1:24-CR-00040
          v.                                     )      JUDGE BRIDGET MEEHAN BRENNAN

CONNER WALKER                                    )      DEFENDANT'S SENTENCING
                                                        MEMORANDUM
          Defendant                              )


I.        INTRODUCTION

          Mr. Walker faces a lengthy sentence in this case based upon the mandatory minimums

alone. The suggested guideline sentence of 130 years well exceeds human life expectancy. (See

PSI Report, Doc. #31, pg. ID 715) 1 It is respectfully suggested that a combination of a lengthy

prison sentence , less than that suggested by the guidelines, and a term of supervised release

would constitute a sentence that meets the purposes of sentencing set forth in 18 U.S.C. 3553

without being greater than necessary. Such a sentence will insure that Mr. Walker engages in the

therapy necessary to address the causes for his actions in this case.

          A lengthy prison sentence is a foregone conclusion in this case based upon the mandatory

sentences. Mr. Walker submits that the availability of various treatment options as well as

safeguards for the public if/when he is released obviate against the necessity of incarceration for

the rest of his life.

          As the court is aware, there is no plea agreement in this case and the parties are free to

make any sentencing recommendations to the court.




1
    Currently, the oldest known living person is Naomi Whitehead who is 114 years old.
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       In calculating its sentence, this Court is asked to follow the precedent of district courts in

the United States who have imposed sub-Guidelines sentences for the production and distribution

of pornography. These courts have recognized that the Guidelines in cases such as the instant

case are too high. As discussed below, that conclusion is more than simply an instinctive reaction

on the part of these district judges. To the contrary, the Guidelines for the instant offenses are

fundamentally flawed by Congressionally-mandated offense levels and enhancements that (1)

were not based on the methodology that earmarked Guidelines calculations for most, if not all,

other offenses and (2) fail to distinguish between the types of conduct that can constitute these

offenses and instead quantifies enhancements that apply in virtually every instance, thus leaving

the Guidelines calculations as nothing more than a collection of across-the-board double-

counting, as opposed to a rational and quantifiable gradation of conduct severity.

II.    ARGUMENT

       A.      The Statutory Mandate: Sufficient But Not Greater Than
               Necessary"

       The focal point for any sentencing is 18 U.S.C. 3553, which provides in pertinent part:

       The court shall impose a sentence sufficient, but not greater than necessary, to
       comply with the purposes set forth in paragraph (2) of this subsection. The court,
       in determining the particular sentence to be imposed, shall consider—

       (1) the nature and circumstances of the offense and the history and characteristics
       of the defendant;

       (2) the need for the sentence imposed—

       (A) to reflect the seriousness of the offense, to promote respect for the law, and to
       provide just punishment for the offense;

       (B) to afford adequate deterrence to criminal conduct;

       (C) to protect the public from further crimes of the defendant; and




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       (D) to provide the defendant with needed educational or vocational training,
       medical care, or other correctional treatment in the most effective manner;

       In the instant case, the mandatory minimum prison sentence attendant to the most serious

offenses in the indictment assures that the sentence imposed by this Court will be sufficiently

severe to reflect the seriousness of the offenses and deter others from committing them in the

future. Moreover, a lengthy sentence, combined with the ample opportunity for sex offender

treatment while incarcerated for this extended period, will adequately protect the public and lay

the groundwork for rehabilitation and further treatment upon release. The Bureau of Prisons has

established numerous programs designed with the goal of rehabilitation while a defendant serves

his or her punishment of incarceration.

       Significantly, this Court need not merely rely upon the prison system to work. By

imposing a substantial period of supervised release as part of its sentence, this Court will have

direct supervision over Mr. Walker upon his release. Conditions of supervised release can

include house arrest with electronic monitoring, a prohibition from using computers, frequent

inspections of his residence, continued therapy and regular reporting. This not only ensures

public safety, it satisfies the public's need to feel protected. The supervisory branch of the

United States Office of Probation is very good at their job and have advanced technological tools

at their disposal to provide close supervision and protection of the public. Additionally, Mr.

Walker will be required to register as a convicted sex offender which will further insure safety of

the public.

       B.      The Sentencing Guidelines Are Not An Effective Tool to Effectuate the
               Statutory Mandate In This Case.

               1.      Flawed Methodology




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         In most sentencings, the Sentencing Guidelines range "will "reflect a rough

approximation of sentences that might achieve § 3553(a)'s objectives.'"Kimbrough v. United

States, 552 U.S. 85, 109, 128 S.Ct. 558,169 L.Ed.2d 481(2007), quoting Rita v. United States,

551 U.S. 338, 350, 127 S.Ct. 2456, 168 L.Ed.2d 203 (2007). There is often good reason that the

Guidelines will normally be the starting point for fashioning an appropriate sentence in most

cases:

         Congress established the Commission to formulate and constantly refine national
         sentencing standards. See Rita, 551 U.S. at 347 – 350, 127 S.Ct. 2456, 2464 –
         2465, 168 L.Ed.2d 203. Carrying out its charge, the Commission fills an
         important institutional role: It has the capacity courts lack to “base its
         determinations on empirical data and national experience, guided by a
         professional staff with appropriate expertise.” United States v. Pruitt, 502 F.3d
         1154, 1171 (C.A.10 2007) (McConnell, J., concurring); see supra, at 1171.

Kimbrough, 552 U.S. at 108-09.

         But the Guidelines applicable to the instant offenses are not the product of the

Commission's established methodology. Rather:

         [T]he Commission did not use this empirical approach in formulating the
         Guidelines for child pornography. Instead, at the direction of Congress, the
         Sentencing Commission has amended the Guidelines under § 2G2.2 several times
         since their introduction in 1987, each time recommending harsher penalties. See
         United States Sentencing Commission, The History of the Child Pornography
         Guidelines, Oct. 2009, available at
         http://www.ussc.gov/general/20091030_History_Child_Pornography_
         Guidelines.pdf (last visited April 19, 2010).7 Alan Vinegrad, *185 the former
         United States Attorney for the Eastern District of New York, has noted that the
         recent changes effected by the PROTECT Act of 2003 evince a “blatant”
         disregard for the Commission and are “the most significant effort to marginalize
         the role of the Sentencing Commission in the federal sentencing process since the
         Commission was created by Congress.”

                                                ***
         The Commission has often openly opposed these Congressionally directed
         changes. In 1991, as Congress was considering a proposal to direct the
         Commission to alter the child pornography Guidelines (by revoking the
         Commission's earlier creation of a new, lower base level for receipt, possession,
         and transportation of images than for sale or possession with intent to sell), the

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       Chair of the Commission wrote to the House of Representatives stating that the
       proposed Congressional action “would negate the Commission's carefully
       structured efforts to treat similar conduct similarly and to provide proportionality
       among different grades of seriousness,” and would instead “require the
       Commission to rewrite the guidelines for these offenses in a manner that will
       reintroduce sentencing disparity among similar defendants.” See Troy Stabenow,
       Deconstructing the Myth of Careful Study: A Primer on the Flawed Progression
       of the Child Pornography Guidelines, January 1, 2009, at 4–9, available at
       http://www.fd. org/pdf_lib/child% 20porn% 20july% 20revision.pdf (unpublished
       Comment, last visited *186 July 28, 2010).

United States v. Dorvee, 616 F.3d 174, 184-86 (2d Cir. 2010).

       In United States v. Johnson, 588 F. Supp 2d 997, (S.D. Iowa, 2008) Chief District Judge

Pratt well summarized the evolution of guidelines pertaining to federal sex offenders in

concluding that they were entitled to much less deference than other properly evolving guideline

provisions.



        At the urging of Congress, the Sentencing Commission has amended the guidelines
under §2G2.2 on several occasions over the past two decades, recommending more severe
penalties. As far as this Court can tell, these modifications do not appear to be based on any sort
of empirical data, and the Court has been unable to locate any particular rationale for them
beyond the general revulsion that is associated with child exploitation-related offenses. See Skye
Phillips, Protect Downward Departures: Congress and Executive's Intrusion into Judicial
Independence, 12 J.L. & Pol’y 947, 967-84 (2004) (discussing the history of the guideline
modifications made in the PROTECT Act and the fact that the changes were made without
notifying or consulting the Sentencing Commission); see also United States v. Detwiler, 388 F.
Supp 2d 1166, 1170-71 (D. Or. 2004) (discussing the Feeney Amendment to the PROTECT
Act). Thus, because the guidelines at issue in this case do not reflect the unique institutional
strengths of the Sentencing Commission in that they are not based on study, empirical research,
and data, this Court, as it did in United States v. Shipley, "affords them less deference than it
would to empirically-grounded guidelines." 560 F. Supp 2d 739, 745-46 (S.D. Iowa 2008); see
also Kimbrough, 128 S. Ct. at 574 (noting that guideline ranges created when the Commission
departed from past practices are a less reliable appraisal of a fair sentence).

                                                             Id., at 1004 (footnotes omitted)
               2.      Arbitrary Result

       The result of this departure from normal Guidelines methodology has been as the

Sentencing Commission feared: A disparately severe set of Guidelines that makes unreasonable

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assessments of offense severity. Dorvee. This disparity is manifested in multiple aspects of

Guidelines Section 2.2. For example, since its enactment the guideline governing possession and

trafficking of child pornography has undergone in excess of ten amendments, most resulting

from Congressional directives. While legally enforceable, such guidelines should not be given

the deference owed to those developed by the Sentencing Commission working in consultation

with psychological and sociological experts. Moreover, the enhancements for use of a computer

(2 levels), prepubescent minor (2), apply so pervasively in these cases that they fail to serve as

legitimate distinctions to justify increasing the severity of the offense beyond its normal

commission. Dorvee succinctly addresses the problem:

               The § 2G2.2 sentencing enhancements cobbled together through this
       process routinely result in Guidelines projections near or exceeding the statutory
       maximum, even in run-of-the-mill cases. The base offense level for distribution of
       child pornography, which in 1991 was 13, has been gradually increased to 22 as
       the Commission has attempted to square the Guidelines with Congress's various
       directives. See United States Sentencing Commission, The History of the Child
       Pornography Guidelines, supra, at 19. On top of that, many of the §
       2G2.2 enhancements apply in nearly all cases. Of all sentences under § 2G2.2 in
       2009, 94.8% involved an image of a prepubescent minor (qualifying for a two-
       level increase pursuant to § 2G2.2(b)(2)), 97.2% involved a computer (qualifying
       for a two-level increase pursuant to § 2G2.2(b)(6)), 73.4% involved an image
       depicting sadistic or masochistic conduct or other forms of violence (qualifying
       for a four-level enhancement pursuant to § 2G2.2(b)(4)), and 63.1% involved 600
       or more images (qualifying for a five-level enhancement pursuant to §
       2G2.2(b)(7)(D)).9 See United States Sentencing Commission, Use of Guidelines
       and Specific Offense Characteristics for Fiscal Year 2009, available at
       http://www.ussc.gov/gl_ freq/09_glinexgline.pdf (last visited April 19, 2010). In
       sum, these enhancements, which apply to the vast majority of defendants
       sentenced under § 2G2.2, add up to 13 levels, resulting in a typical total offense
       level of 35.

Dorvee, 616 F.3d at 186.

       C.      Sub-Guidelines Sentences are Common

       Consistent with these disparities, district courts throughout the United States are

departing below the Guidelines in pornography production cases. According to the most recent

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data available, 57 percent of production cases were sentenced below the Guidelines. See United

States Sentencing Commission, Federal Sentencing of Child Pornography: Production Offenses

(October, 2021) at 22, available online at https://www.ussc.gov/sites/default/files/pdf/research-

and-publications/research-publications/2021/20211013_Production-CP.pdf (last viewed

November 3, 2021). The average production defendant received a sentence of 275 months in

2019. Id., at 44. First offenders' sentences averaged 267 months. Id., at 51. Even when sexual

contact was involved, the average sentence was 334 months, regardless of criminal history. Id.

Significantly, the majority of production defendants received the 5-level pattern of conduct

enhancement under USSG §4B1.5(b)(1), as did McWilliams -- this enhancement does not place

him apart from the norm. Id. at 19.

       D.      Mitigation: First Offense, In-Prison Therapy and Supervised Release

       The offense conduct in this case should not be minimized. But neither should mitigation.

The defense is filing an expert report under seal herein detailing Mr. Walker’s life history,

including events and circumstances that bring him where he is today. It also includes hope for

the future due to acceptance of responsibility and realization of the causes for his behavior.

None of the materials are intended in any way to excuse his behavior. He knows there is a price

to pay. However, these materials are intended to be utilized by this honorable Court in

fulfillment of its duty to craft a sentence pursuant to 18 USC 3553(a) that is sufficient, but not

greater than necessary. That report is incorporated herewith by reference. (see expert report

SEALED, Doc. 35)

                                         CONCLUSION

       The defense arguments herein or those presented at the sentencing hearing should in any

way be understood to diminish the harm to the victims in this case. Nor should the arguments in



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any way be construed as any justification whatsoever for the defendant’s actions herein. This

court has the ability to impose a life sentence in this case. A life sentence can be comprised of

both time behind bars and intense supervision in the community. The question to be determined

and entrusted to the sound discretion of this Court pursuant to 18 U.S.C. 3553(a) is to define

what in this case is “sufficient, but not greater than necessary” punishment.

       Based upon the foregoing arguments, as well as the characteristics and life history of this

defendant, the defense contends that a life sentence would be greater than necessary to satisfy all

objectives of sentencing. Given his young age, there is hope for reform of his behavior.

Therefore, the Defense respectfully requests that this Honorable Court balance the needs for

punishment and deterrence of others with rehabilitation and a chance for redemption.

                                                      Respectfully submitted,

                                                      /s/ Robert A. Dixon
                                                      ROBERT A. DIXON
                                                      Attorney for Defendant


                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 26, 2025, a true and correct copy of the foregoing has

been filed electronically with the Clerk of Court for the Northern District of Ohio. Notice of this

filing will be sent to all parties by operation of the Court’s electronic filing system. Parties may

access this filing through the Court’s system.



                                                      /s/ Robert A. Dixon
                                                      ROBERT A. DIXON
                                                      Attorney for Defendant




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